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                        STATEMENT OF INTEREST

     The United States enforces the federal antitrust laws and has a

significant interest in preventing anticompetitive conduct in the real-

estate industry. Over the last two decades, the United States has

investigated and challenged various rules and practices of the National

Association of Realtors (“NAR”) and regional multiple listing services

(“MLSs”). See, e.g., United States v. NAR, No. 1:05-cv-5140 (N.D. Ill.

2005); United States v. Consolidated Multiple Listing Service, Inc., No.

3:08-cv-01786-SB (D.S.C. 2008). Among other things, the United States

recently filed an amicus brief in a case before this Court challenging the

same NAR Clear Cooperation Policy at issue here: The PLS.Com, LLC

v. NAR, et al., 32 F.4th 824 (9th Cir. 2022).1

     We file this amicus brief under Federal Rule of Appellate Procedure

29(a) to address legal errors in the District Court’s antitrust-injury

analysis. While proof of antitrust injury is not required in federal

enforcement actions, it is required in private antitrust litigation, which



     1
       The United States also is in litigation with NAR over the
enforcement of a Civil Investigative Demand related to the Clear
Cooperation Policy, among other practices and rules. National
Association of Realtors v. United States, No. 21-2406, 2023 WL 387572
(D.D.C. Jan. 25, 2023).
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complements government actions by deterring antitrust violations.

Correcting the legal errors below furthers “the longstanding

[Congressional] policy of encouraging vigorous private enforcement of

the antitrust laws.” Illinois Brick Co. v. Illinois, 431 U.S. 720, 745

(1977).

     We take no position on the merits of Top Agent Network’s (“TAN”)

claims or on the veracity of its factual allegations (which are accepted on

a motion to dismiss).

                  STATEMENT OF ISSUES PRESENTED

     This brief addresses three legal issues:

     1.       Whether the District Court erred in focusing on the wrong

product market in assessing whether TAN sustained antitrust injury

from the Defendants’ allegedly anticompetitive conduct.

     2.       Whether the District Court erroneously deemed any practice

that adds property listings to an MLS as “procompetitive,” while

deeming any rival service that has limited membership and takes

listings away from an MLS as “anticompetitive.”

     3.       Whether the District Court further erred by suggesting that,

because it had concluded that TAN has an inherently “anticompetitive”

business model, TAN necessarily lacked antitrust injury.

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                                STATEMENT

     1.    Residential real estate in the United States is marketed

primarily through NAR-affiliated MLSs, which are subscription-based

online listings of available properties. “Typically, the dominant [NAR-

affiliated] MLS or MLSs in a given market will host listings for around

90% of homes sold in that market.” Third Amended Complaint

(“Complaint”) ¶3 (2-ER-69). NAR promulgates rules that its affiliates

must incorporate into the bylaws governing their MLSs. Id. ¶10 (2-ER-

71). “Because such a high percentage of a local market’s home sales are

arranged through listings on the local MLS, a subscription to the local

MLS is a practical necessity to meaningfully practice as a real estate

agent.” Id. ¶4 (2-ER-69); see id. ¶42 (2-ER-79). In addition, NAR enjoys

“overwhelming membership among active agents” in this country. Id.

¶15 (2-ER-72); see id. ¶48 (2-ER-81).

     Some home sellers, the Complaint alleges, prefer to hire brokerage

firms or individual real-estate agents to market their homes outside of a

NAR-affiliated MLS. For example, “[m]any consumers wish to preserve

their privacy and do not want to host viewings or have their property

widely available for viewing on a listing website.” ¶5 (2-ER-69-70); see


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id. ¶¶135-37 (2-ER-108-09). Other sellers authorize brokers and agents

to “engage in limited off-MLS marketing to ‘test the waters’ to

determine the appropriate price for their home listing on the local

MLS[.]” Id. ¶5; see id. ¶¶64-72 (2-ER-86-89).

     Like home sellers, some home buyers may prefer to operate

outside of the NAR-affiliated MLS system. For example, “the typical

home sold off-MLS is less ‘showroom ready’ than homes listed on the

MLS.” Such homes “can be attractive to buyers willing to trade

condition for price.” Complaint ¶74 (2-ER-89).

     According to the Complaint, TAN offers an alternative to the

NAR-affiliated MLS system. TAN provides its members with some

services that resemble those provided by an MLS, and some that do not.

Like an MLS, TAN “provides the agents in its network with a platform

to share market information and data,” including information about

their listings of “properties the seller has not yet or does not intend to

list on an MLS.” Complaint ¶78 (2-ER-90). But unlike a traditional

MLS, TAN offers a “match-making” service for its members that

“facilitates one-on-one private conversations between a buyer’s agent

and seller’s agent with symmetrical needs without any marketing of the


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property.” Id. ¶79 (2-ER-90). TAN “limit[s] its membership to the top

ten percent of agents responsible for most residential real estate

transactions by sales volume.” Id. ¶8 (2-ER-70). But because

membership in a local MLS is a practical necessity for any real-estate

agent, see id. ¶42 (2-ER-79), “[o]ne hundred percent of TAN’s members

are also members of their local MLS—without exception[.]” Id. ¶43 (2-

ER-79).

     The Complaint focuses on “the market for professional real estate

listing services.” ¶140 (2-ER-110-11). The participants in this market

are not home buyers and sellers. Rather, they are “real estate agents

and brokerages on the one side, and centralized listing services on the

other.” Id. Agents and brokerages pay recurring membership fees to

listing services for access to a platform allowing them to share and view

for-sale property information. See id.

     TAN and NAR-affiliated MLSs compete in this market. Within

this market, along with a few similar services, TAN is one of the only

competitive threats to NAR-affiliated MLSs. Otherwise, “there are

presently no commercial alternatives to MLSs.” Complaint ¶81 (2-ER-

91). “Customer-facing websites such as Zillow or Trulia,” for instance,

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“do not compete with TAN or MLSs, as they are consumers rather than

suppliers of property listing services.” Id. These websites report

listings that appear on MLSs but do not independently generate

listings.

      In late 2019, allegedly fearing competition from TAN and other

off-MLS listing networks, NAR promulgated a new mandatory rule for

its affiliated MLSs that it called the Clear Cooperation Policy. That

rule “requires that any property an agent markets in any way outside of

his or her own brokerage off-MLS—either on TAN, similar platforms, or

through informal marketing—must be listed on the local MLS within

one business day thereafter.” Complaint ¶10 (2-ER-71). The Policy

exempts “office exclusives”—listings marketed by agents to other agents

within the same brokerage firm—from having to be submitted to an

MLS. Id. ¶12 (2-ER-71).

      The alleged purpose and effect of the Policy is to eliminate listing

services that compete with the NAR-affiliated MLS system. The

Complaint alleges that “NAR officials have discussed openly that the

Policy will eliminate TAN specifically as a competitor.” ¶11 (2-ER-71).

That is because “[i]f anything listed on TAN must almost immediately

be listed on the local MLS, consumers cannot use TAN and similar
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services for th[e] purpose [of listing off-MLS].” Id.; see id. ¶99 (“NAR

intended for the Policy to coerce agents against using TAN.”) (2-ER-97).

       The Complaint alleges that, despite the Policy, substantial

demand remains for off-MLS listings. ¶117 (2-ER-102-03). “[S]ince

May 2020 the share of homes sold without being marketed to the public

increased 67%, from 2.4% of homes to 4.0%, with the rate rising every

month in 2021.” Id. The Policy, however, has diverted that demand

away from competing listing services like TAN and into “office

exclusives.” Id. ¶¶116-19, 130 (2-ER-102-03, 107). TAN’s former

listings, in particular, “have not gone to the MLS” but instead have led

to “a large increase in the share of ‘broker exclusives.’” Id. ¶14 (2-ER-

72).

       For this reason, the Complaint avers, the purpose of the Policy

cannot be to maximize a property’s exposure to potential buyers by

forcing listings onto MLSs. If that were the case, NAR would not have

adopted the “office exclusives” exception. ¶12 (2-ER-71). “Far from

leading to more exposure for home listings, the Policy’s ‘office exclusive’

exception has resulted in significantly less exposure.” Id. ¶14 (2-ER-72)

(emphasis in original).

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     2.    TAN sued NAR and the San Francisco Association of

Realtors (“SFAR”). It alleged that the Policy violates, among other

laws, Section 1 of the Sherman Act, 15 U.S.C. § 1, as both a per se

unlawful “group boycott” against TAN and an unreasonable restraint of

competition in the market for professional real estate listing services.

The District Court dismissed the Complaint with prejudice, after

denying TAN’s motions for a temporary restraining order and

preliminary injunction. Order, Doc. 92 (1-ER-2-16).

     The District Court found that the Complaint “lays out a

reasonable argument” that the “overall” effect of NAR’s Clear

Cooperation Policy “on the market for homes” is anticompetitive. Order

10 (1-ER-11). “The Policy leverages NAR’s control of the real estate

market to coerce most agents into giving up their off-MLS activities

entirely, without regard to the competitive value of those activities.” Id.

The Policy, by forcing consumers who want to market off-MLS “to

choose between the MLS and a problematic in-house transaction at a

large brokerage, reduces consumer choice and stymies competition

among agents for off-MLS sales.” Id.

     But the District Court nevertheless held that TAN failed to allege

“antitrust injury,” a component of private-plaintiff antitrust standing,

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because the District Court believed that the Policy, as applied to an

“exclusive” network like TAN, has a procompetitive effect. “For homes

listed by sellers’ agents who are TAN members,” the court stated, the

Policy forces listings onto MLSs and thus makes “listings available to a

much larger audience of agents and their clients.” Order 12-13 (1-ER-

13-14). The District Court believed that increasing the number of real

estate agents who can view a property listing necessarily “increase[s]

competition . . . [f]or homes listed” for sale. Id. It thus held that “TAN

could never allege an antitrust injury from the Policy, because TAN’s

business model is itself anticompetitive in a way that the Policy would

tend to remedy.” Order 11 (1-ER-12). When “the plaintiff’s desired

business model is harmful to competition,” the court explained, “injury

resulting from the aspect of a competitor’s practice that interferes with

that business model cannot be antitrust injury.” Id. at 14 (1-ER-15).

Because the District Court reasoned that TAN’s harm stemmed from a

procompetitive aspect of NAR’s policy, it held that TAN did not allege a

cognizable antitrust injury.

                      SUMMARY OF ARGUMENT

     The District Court erred as a matter of law in its antitrust-injury

analysis in three fundamental respects.

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     First, the District Court focused on the wrong product market.

Antitrust law protects competition at all levels of an industry, and the

court’s analysis should focus on the market where competition allegedly

is impaired. TAN alleged a relevant upstream market for “professional

real estate listing services” in which it competes against NAR-affiliated

MLSs to provide listing services to real-estate agents and brokers.

Complaint ¶140 (2-ER-110-11). TAN further alleged that the Policy

effectively excludes it from that market by depriving it of an essential

input: real-estate agents and their listing information.

     But the District Court’s analysis focused instead on competition in

a distinct market: the downstream market in which real-estate

brokerage services help consumers buy and sell homes. The District

Court never analyzed whether TAN’s alleged injury flows from the

Defendants’ anticompetitive acts in the market TAN alleged—namely,

the upstream market for listing services provided to agents and

brokers. The law requires that analysis.

     Second, the District Court improperly determined on a motion to

dismiss that TAN’s business model is inherently anticompetitive. The

District Court’s analysis appears to rest on the incorrect premise that


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competition is necessarily enhanced by increasing the visibility of

properties to potential buyers. On this view, any practice that adds

property listings to MLSs would be procompetitive, while any rival

service that is not available to all agents and takes listings away from

MLSs would be anticompetitive.

     That premise and the District Court’s reasoning ignored market

realities and the ways in which competition actually can work.

Competition can include new rivals taking market share from a

dominant provider, replacing the dominant provider altogether with a

better product or service, or creating a niche product preferred by some

segments of the market. The District Court’s reasoning, however,

effectively precludes any off-MLS competitor not available to all agents

from challenging MLSs in that upstream market—improperly

entrenching the dominant market position of the NAR-affiliated MLS

system.

     Third, having deemed TAN’s “business model” anticompetitive,

the District Court seemed to suggest that TAN’s own conduct barred it

from challenging NAR’s Clear Cooperation Policy as a matter of law. To

the contrary, controlling precedent holds that antitrust suits can be


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brought by parties themselves engaged in anticompetitive conduct,

subject to limited exceptions not relevant here. That case law advances

the overriding public policies embodied in the antitrust laws.

                                   ARGUMENT

     The “Sherman Act was designed to be a comprehensive charter of

economic liberty aimed at preserving free and unfettered competition as

the rule of trade.” N. Pac. Ry. Co. v. United States, 356 U.S. 1, 4 (1958).

It “rests on the premise that the unrestrained interaction of competitive

forces will yield the best allocation of our economic resources, the lowest

prices, the highest quality and the greatest material progress[.]” Id.

Because it would be “inimical” to these principles to “award damages for

losses stemming from continued competition,” Atlantic Richfield Co. v.

USA Petroleum Co., 495 U.S. 328, 334 (1990) (citation omitted), the

Supreme Court has construed Section 4 of the Clayton Act, 15 U.S.C. §

15, to require private plaintiffs to show “antitrust injury” as a necessary

component of antitrust standing. See Associated Gen. Contractors v.

California State Council of Carpenters, 459 U.S. 519, 540 (1983).2


     2
       Another component of antitrust standing asks whether the
plaintiff is a “consumer” or “competitor” in the market in which trade
was restrained. Associated Gen. Contractors, 459 U.S. at 544-45. TAN
alleges that it competes in the listing services market where trade was
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     “Antitrust injury” means injury caused by the defendant’s conduct

that is “of the type the antitrust laws were intended to prevent and that

flows from that which makes defendants’ acts unlawful.” Brunswick

Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). A private

plaintiff therefore must show that “his loss flows from an

anticompetitive aspect or effect of the defendant’s behavior[.]” Rebel Oil

Co. v. ARCO, 51 F.3d 1421, 1433 (9th Cir. 1995). Antitrust injury

examines whether the plaintiff’s injury stems from harm to competition

rather than from some other source, such as enhanced competition.

     Although the District Court initially stated this general rule of

antitrust injury, it ultimately misapplied the rule to the allegations in

the Complaint in three fundamental ways.

     A.    The District Court’s Antitrust-Injury Analysis Erred
           in Focusing on the Wrong Product Market.

     The antitrust laws protect competition in both upstream and

downstream product markets. The Sherman Act “does not confine its

protection to consumers, or to purchasers, or to competitors, or to

sellers.” Mandeville Island Farms, Inc. v. Am. Crystal Sugar Co., 334

U.S. 219, 236 (1948). The “Act is comprehensive in its terms and


restrained, which weighs in favor of standing.
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coverage, protecting all who are made victims of the forbidden practices

by whomever they may be perpetrated.” Id.

     This Court, in PLS.Com, recently applied this principle to NAR’s

Clear Cooperation Policy. In doing so, it recognized that PLS was a

competitor in the upstream “real estate network services market,” 32

F.4th at 829, and held that PLS was not required to allege harm to

home sellers and buyers in the downstream market in order to

adequately allege antitrust injury. Id. at 832. This Court held that it

was sufficient for PLS to allege that brokers and agents, who “are the

consumers of PLS’ and the MLSs’ listing network services,” were

harmed by the Policy. Id. at 833; see also Thompson v. Metropolitan

Multi-List, Inc., 934 F.2d 1566, 1571 (11th Cir. 1991) (agent-members of

realtors’ association were the relevant direct “consumers of the

multilisting service”).

     TAN, like PLS, alleged that the relevant product market is

“professional real estate listing services,” where TAN competes against

NAR-affiliated MLSs. Complaint ¶140 (2-ER-110-11); see id. ¶¶151,

157, 161 (2-ER-117-20). Brokers and agents use the product they

purchase in this upstream market as an “input” to provide a separate

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service (brokerage services) in a related but distinct “downstream”

market to home sellers and buyers. See id. ¶142 (2-ER-111). And in

that downstream market, home sellers and buyers—the ultimate end

users—are the relevant consumers.

     The District Court erred by focusing on the downstream market

instead of the upstream listing services market in which TAN alleged

anticompetitive harm. The District Court’s decision is inconsistent with

PLS.Com and other longstanding precedent showing that in cases like

this, where the plaintiff alleges that it competes in an upstream input

market, courts properly analyze competition in that upstream market.

E.g., Mandeville Island Farms, 334 U.S. at 235 (challenged conduct

harmed competition “even though” the “persons specially injured” were

“sellers” and not final “customers or consumers”); Boardman v. Pac.

Seafood Grp., 822 F.3d 1011, 1022 (9th Cir. 2016) (district court

properly focused on whether merger would harm competition in the

relevant upstream “input markets for trawl-caught [seafood],” rather

than different downstream market where the merging parties had

cooperated); Case-Swayne Co. v. Sunkist Growers, Inc., 369 F.2d 449,

457 (9th Cir. 1966) (assessing the impacts on juice manufacturers who

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bought juice-grade oranges, not the downstream grocers who bought the

juice or the ultimate consumers who drank it), rev’d on other grounds,

389 U.S. 384 (1967); see also Apple, Inc. v. Pepper, 139 S. Ct. 1514, 1523

(2019) (holding that the “upstream market structure” is not relevant in

determining whether a “downstream consumer,” who alleged harm in

the downstream market, is a direct purchaser able to sue under Illinois

Brick).

     Likewise, in evaluating antitrust injury, courts properly focus on

whether the plaintiff’s injury flows from anticompetitive conduct in the

relevant market identified by the plaintiff, which may be a distinct

market upstream of end-user consumers. In cases alleging injury in

upstream input markets, the plaintiff is often a competitor. That was

the case in PLS.Com, where the plaintiff, like TAN, was a new entrant

in the upstream listing services market. There, PLS alleged—again,

like TAN—that NAR’s Clear Cooperation Policy “prevented PLS from

gaining a foothold in the [listing services market] and makes it virtually

impossible for new competitors to enter, leaving agents with fewer

choices, supra-competitive prices, and lower quality products.” 32 F.4th




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at 840. This Court held that PLS “adequately alleged antitrust injury.”

Id.

      Similarly, in Yellow Page Cost Consultants, Inc. v. GTE Directories

Corp., 951 F.2d 1158 (9th Cir. 1991), this Court held that a plaintiff

could establish antitrust injury in the upstream market in which it

competed. There, advertising consultants sued GTE when it barred

them from ordering and processing yellow-page advertisements. The

consultants competed against GTE—whose salespersons offered similar

services—in the upstream “service market of advising advertisers

regarding the form, cost, content and location of yellow pages

advertisements.” Id. at 1161-62. This Court held that the harm

inflicted by GTE’s policy on the consultants in this upstream market

constituted antitrust injury; it did not, for instance, also look to the

effect in the downstream advertising market. See id.; see also Volvo

North America Corp. v. Men’s Int’l Professional Tennis Council, 857 F.2d

55, 68-70 (2d Cir. 1988) (rival organizers of tennis tournaments

sufficiently alleged antitrust injury because they were injured in

upstream market for tournaments when the defendants’ rules reduced




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the supply of a critical input—tennis players—who could play in the

plaintiffs’ tournaments).

     TAN’s alleged injury here is analogous. TAN’s business in the

upstream market for listing services depends on a critical input: real-

estate brokers and agents who are willing to do off-MLS listings.

Complaint ¶¶78-80, 143 (2-ER-90, 111-12). Because of NAR-affiliated

MLSs’ market power over brokers and agents, the Policy allegedly has

the practical effect of deterring brokers and agents from listing on

alternative services. See id. ¶¶11, 98 (Policy eliminates the usefulness

of off-MLS services like TAN), 113 (agents “have cited the Policy

explicitly in explaining their decision to cancel their [TAN]

memberships”), 151-53, 162 (2-ER-71, 96-97, 101, 117-18, 120); see also

Order 10 (deeming this allegation “reasonable”) (1-ER-11); cf. Re/Max

Int’l, Inc. v. Realty One, Inc., 173 F.3d 995, 1003 (6th Cir. 1999)

(defendant “used its power to effectively discourage experienced real-

estate sales agents from working for Re/Max”).3


     3
       A plaintiff need allege only that the defendant’s policy has the
“practical effect,” Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320,
326 (1961), of depriving the plaintiff of critical inputs. It is therefore no
answer to say that the Policy does not expressly ban agents from listing
on TAN but only requires simultaneous listing on an MLS.
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     The District Court should have evaluated whether the injury to

TAN in this market established antitrust injury. On that score, TAN

alleged that the Policy’s deterrent effect on brokers’ and agents’ use of

off-MLS listing services harms competition in the upstream market for

listing services in two ways: (1) by depriving the relevant consumers

(brokers and agents) of choice in how to serve their clients because

“agents who are not members of a large brokerage will be unable to

properly serve customers seeking to market off-MLS,” Complaint ¶¶11,

15, 98 (2-ER-71, 72, 96-97), and (2) by impeding or eliminating listing

networks that might compete with MLSs, resulting in “a single

dominant MLS” in most major markets, id. ¶¶39, 81, 162 (2-ER-78, 91,

120). Restraints on consumer choice and exclusion of new market

entrants are contrary to fundamental antitrust policy. See FTC v.

Indiana Fed’n of Dentists, 476 U.S. 447, 459 (1986) (“an agreement

limiting consumer choice by impeding the ‘ordinary give and take of the

marketplace’ . . . cannot be sustained under the Rule of Reason”)

(quoting Nat'l Soc. of Pro. Eng’rs v. United States, 435 U.S. 679, 692

(1978)); Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451,

478 (1992) (“market foreclosure” is “facially anticompetitive and exactly


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the harm that antitrust laws aim to prevent”).

     The District Court, however, held that TAN did not suffer

antitrust injury because its alleged injury (the loss of its agent

members) flows from forcing more listings onto MLSs where listings are

“available to a much larger audience of agents and their clients.” Order

13 (1-ER-14). This holding is based on an analysis of the wrong

market.4 The competition to which the District Court referred takes

place in the downstream market, in which consumers are home buyers

and sellers, aided by real-estate brokerage services—not in the

upstream market that TAN alleged.

     The District Court reiterated this error several times. For

instance, it reasoned that “when a seller’s agent lists a home on TAN

without listing it on the local MLS, competition for that home is

decreased” because “[o]nly buyers who have enlisted the services of a

TAN member agent are able to view the listing and bid for it.” Order 12

(1-ER-13). The “competition” described here is competition among



     4
       The District Court’s holding also improperly disregards TAN’s
repeated factual allegations, taken as true on a motion to dismiss, that
the Policy in fact has not forced more listings onto MLSs, but instead
has forced off-MLS listings into “office exclusives” at large brokerages.
Complaint ¶¶14, 116-19 (2-ER-72, 102-03).
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potential buyers, not competition between listing services. The District

Court similarly focused on “facilitating home sales” by allowing “buyers

to compare listings and identify potential matches,” Order 11 (1-ER-12),

asked whether “competition for that home is decreased” by TAN’s

business, Order 12 (1-ER-13), and described the “market” as the one in

which agents “create listings and negotiate sales,” Order 13 (1-ER-14);

see also id. at 2 (1-ER-3) (describing the effect of TAN’s business model

as having anticompetitive effects “on the real estate market”). In all of

these circumstances, the market is centered on the activities of end-user

consumers—not on the upstream market. And, similarly, when

assessing TAN’s allegations that the Policy limits consumer choice, the

District Court wrongly focused on whether the Policy limits choice for

end-user consumers, id. at 13-14 (1-ER-14-15), not whether the Policy

limits choice for the relevant consumers in the listing services market—

brokers and agents—as it should have.

     Correcting these errors is important because antitrust injury can

flow from a reduction of competition in an upstream market regardless

of the ultimate effect on competition downstream. See Weyerhaeuser

Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312, 324-25


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(2007) (conduct can harm competition in an input market “[e]ven if

output prices remain constant” for end users); Knevelbaard Dairies v.

Kraft Foods, Inc., 232 F.3d 979, 988 (9th Cir. 2000) (milk producers

sufficiently alleged antitrust injury from collusive price manipulation in

upstream market for fluid milk, even though defendants’ conduct may

have lowered prices for cheese products to downstream consumers);

Sullivan v. NFL, 34 F.3d 1091, 1101 n.3 (1st Cir. 1994) (“Just because

consumers of ‘NFL football’ are not affected by output controls and price

increases does not mean that consumers of a product in the relevant

market are not so affected.”). The District Court, however, never

analyzed this possibility.5

     To be sure, NAR and SFAR disputed TAN’s allegation of the

relevant product market in an earlier version of TAN’s complaint. But



     5
       Pool Water Prods. v. Olin Corp., 258 F.3d 1024 (9th Cir. 2001),
cited at Order 13 (1-ER-14), is inapposite. The plaintiff there alleged
that the defendant drove down the price of the product that both parties
repackaged and distributed. The plaintiff failed to allege antitrust
injury because it never showed that the defendant’s pricing was
predatory. See id. at 1035-36. Here, TAN does not allege that it was
injured by Defendants’ lower prices; it alleges that Defendants cut off
its supply of an essential input. E.g., Complaint ¶¶143, 161 (2-ER-111-
12, 120).

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market definition is highly factual, so disputes about market definition

typically are not resolvable on a motion to dismiss. See, e.g., Oahu Gas

Serv., Inc. v. Pac. Res., Inc., 838 F.2d 360, 363 (9th Cir. 1988) (“market

definition and market power are essentially questions of fact”); Twin

City Sportservice, Inc. v. Charles O. Finley & Co., 676 F.2d 1291, 1299

(9th Cir. 1982) (“definition of the relevant market is basically a fact

question dependent upon the special characteristics of the industry

involved”). And here, the District Court never held that the alleged

market was legally deficient. Instead, the District Court’s analysis

simply ignored the relevant product market alleged in the Complaint,

which was improper.

     B.    The District Court Wrongly Equated More MLS
           Listings to “Procompetitive” and More Listings Off
           the Dominant MLS to “Anticompetitive.”

     The District Court erred in a second fundamental respect—

namely by finding, on a motion to dismiss, that NAR’s policy was

“procompetitive” as applied to TAN because it “keeps listings available

to a much larger audience of agents and their clients.” Order 13 (1-ER-

14). Although the District Court said that it took issue with TAN’s

“exclusive” membership, id., its reasoning applies to nearly any service

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that would challenge a dominant MLS. If a rival wants to create a new

type of listing service—even one “open to all licensed agents,” Order 11

(1-ER-12)—and take share from the dominant NAR-affiliated MLS, that

service will always have less members than the dominant platform

when it first launches. Its competitive success, according to the District

Court, thus would be “anticompetitive” because it would divert home

listings away from a platform with a “much larger audience.” Order 13

(1-ER-14). And any service that wants to focus on a different type of

home marketing—off-market sales, for example—will by definition

expose listed homes to a smaller “audience.” Id.

     By assuming consumers are better off with the current dominant

provider—instead of with additional rivalry—the District Court’s

reasoning disregards basic antitrust principles. As the Supreme Court

has made clear, “[t]he Sherman Act reflects a legislative judgment that

ultimately competition”—here, between listing services—“will produce

not only lower prices, but also better goods and services.” Nat’l Soc’y of

Pro. Eng’rs v. United States, 435 U.S. 679, 695 (1978). For this reason,

“[t]he heart of our national economic policy long has been faith in the

value of competition.” Id. (quoting Standard Oil Co. v. FTC, 340 U.S.


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231, 248 (1951)). The antitrust laws are thus “concerned with the

competitive process, and their application does not depend in each

particular case upon the ultimate demonstrable consumer effect.”

Fishman v. Est. of Wirtz, 807 F.2d 520, 536 (7th Cir. 1986); accord, e.g.,

Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1203 (9th Cir. 2012)

(“The relevant injury in [United States v. Loew’s, 371 U.S. 38 (1962)]

was to competition, not to the ultimate consumers”); Clamp-All Corp. v.

Cast Iron Soil Pipe Inst., 851 F.2d 478, 486 (1st Cir. 1988) (Breyer, J.)

(antitrust law “assesses both harms and benefits in light of the

[Sherman] Act’s basic objectives, the protection of a competitive

process”).

     In our free-enterprise system, competition determines which firms

in a given market will succeed and which will fail. As this Court has

recognized, “fierce, no holds barred competition will drive out the least

effective participants in the market, providing the most efficient

allocation of productive resources.” United States v. Syufy Enters., 903

F.2d 659, 662 (9th Cir. 1990). It can be procompetitive for a new real-

estate platform to compete with an MLS for listings, and it is important

for the antitrust laws to preserve “the free opportunity [among brokers

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and agents] to select among alternative offers.” Pro. Eng’rs, 435 U.S. at

695. Indeed, antitrust jurisprudence firmly establishes that the role of

courts’ antitrust analysis is to protect competition, not to pick winners

and losers in the marketplace. See NCAA v. Alston, 141 S. Ct. 2141,

2163-64 (2021) (“judges make for poor ‘central planners’ and should

never aspire to the role”).6

      The District Court’s analysis turns these foundational principles

upside down. Among other things, it confuses “procompetitive” with the

success of the (typically, NAR-affiliated) MLS system—which will

always have the “large[st] audience of agents,” Order 13 (1-ER-14)—

instead of recognizing the importance of competition between different

types of listing services.

      Similarly, equating less viewership with an “anticompetitive”



      6
       To be sure, MLSs often are joint ventures, and some joint
ventures can under certain and particular circumstances have
procompetitive potential. But that does not mean MLSs are immune
from antitrust liability when they adopt anticompetitive policies. It is
through competition, not exclusionary conduct, that joint ventures must
prove their value. See, e.g., NCAA, 141 S. Ct. at 2155-56 (assuming that
NCAA is a joint venture, but some of its rules were anticompetitive and
properly enjoined); Realcomp II, Ltd. v. FTC, 635 F.3d 815 (6th Cir.
2011) (MLS’s website policy limiting exposure of discount and non-
traditional listings was unreasonable restraint of trade).

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character fails to appreciate the different ways that competition can

work. Some consumers may want privacy. Not everyone wants to list

their home for the entire world to see. A business offering that service

is not acting anticompetitively merely because fewer people will be able

to see a home. To the contrary, consumers benefit from the various

forms of competition that can occur in the upstream market. That

competition can take the form of replacing the dominant provider

altogether with a better product or service, see United States v.

Microsoft Corp., 253 F.3d 34, 49 (D.C. Cir. 2001) (“Competition in . . .

industries” where “[o]nce a product or standard achieves wide

acceptance, it becomes more or less entrenched” is “‘for the field’ rather

than ‘within the field.’”) (citation omitted), or creating a niche service

tailored to a particular section of the market. It can also involve new

rivals taking market share from a dominant provider. In short, new

entrants—including those with differentiated business models—must

have the opportunity to compete against MLSs at the listing-service

level so brokers and agents can choose the service they consider

superior, granting options and improved service to consumers in the

downstream market. See PLS.Com, 32 F.4th at 836 (referencing the


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harmful impact of the Clear Cooperation Policy on a new entrant’s

“ability to compete . . . on the merits” against the MLSs “in the market

for sellers’ listings”).

      The District Court’s analysis leaves no room for this type of

competition. And the District Court takes this approach even when the

challenged restraint allegedly is used to exclude competition in

upstream markets for listing services and thereby entrench MLSs’

dominance in those markets. Ultimately, this approach likely would

lead to less innovation in listing service features.

      To illustrate this basic point, consider Volvo, 857 F.2d at 68-70.

There, the Second Circuit evaluated rules promulgated by a dominant

men’s tennis tournament producer, which were challenged by rival

tournament producers. In particular, the monopolist defendants used

“Commitment Agreements” to restrict the supply of tennis players who

could be available for plaintiffs’ rival tournaments, which competed with

defendants’ tournaments. The court held that plaintiffs sufficiently

alleged antitrust injury. See id. Importantly, the court did not

condemn the plaintiffs’ business models as “anticompetitive”—although

it had a similar opportunity as the District Court in this case—because


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the plaintiffs’ tournaments might draw players away from the

defendants’ dominant tournaments, and thereby arguably weaken those

tournaments’ talent pool, which could have reduced competition at

defendants’ tournaments. Cf. Re/Max, 173 F.3d at 1023 (plaintiff’s

injury was “of the type sought to be redressed by antitrust law” where

the effect of defendant’s policy “was to deter [real-estate] agents from

defecting to Re/Max, thereby impeding an innovative competitor’s

access to the market”).

     The District Court cited no authority for its apparent proposition

that adding listings to an open MLS is necessarily procompetitive while

converting them to an exclusive service is necessarily anticompetitive.

The court cited Daniel v. American Bd. of Emergency Medicine, 428 F.3d

408 (2d Cir. 2005), Order 14 (1-ER-15), but that case stands only for the

unremarkable proposition (not applicable here) that a plaintiff does not

show antitrust injury by alleging that it was deprived of an opportunity

to reap supra-competitive prices.7


     7
       Daniel is quite different and ultimately distinguishable from this
case. There, the Second Circuit understood the plaintiffs’ theory of
injury as not challenging the restraints that had created a “cartel” of
emergency physicians but instead as seeking entry into that cartel so
that plaintiffs also could charge supra-competitive prices. See 428 F.3d
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     As applied to TAN, the District Court made a second, related

error. The District Court’s reasoning rests on its conclusion that one

alleged anticompetitive effect of the Policy (limited choice) is

outweighed by the unalleged, but supposedly procompetitive, benefit of

increasing buyers’ access to listings. See id. at 13-14 (“the loss of

consumers’ ability to choose TAN rather than the MLS pales in

comparison to the procompetitive benefits of open information”)

(emphasis added).

     This sort of balancing is improper in this context. A proper

antitrust-injury analysis does not involve weighing different

competitive effects against each other. Rather, as explained above, a

proper antitrust-injury analysis examines the nexus between the

plaintiff’s alleged injury and the defendant’s anticompetitive conduct in

the relevant market. A plaintiff may have antitrust injury even if, at




at 439-40. The Second Circuit distinguished Volvo as a proper case of
antitrust injury in which the plaintiff challenged “an exclusionary
scheme that precludes him from entering a market simply because he
sues to recover the profits that he otherwise would have earned.” Id. at
439. TAN seeks to compete against MLSs by challenging an allegedly
exclusionary restraint, not to join the NAR-affiliated MLS system.
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the later summary judgment or trial stages, the procompetitive benefits

of a restraint are determined to outweigh its anticompetitive effects.

     Indeed, as this Court repeatedly has recognized, balancing

anticompetitive and procompetitive effects in antitrust cases is a merits

issue that is performed after discovery with the development of a factual

record. See American Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781, 791

(9th Cir. 1996) (“The law clearly envisions that the balancing test is

normally reserved for the jury.”); Oltz v. Saint Peter’s Community

Hospital, 861 F.2d 1440, 1445 (9th Cir. 1988) (“the fact finder must

balance the restraint and any justifications or pro-competitive effects of

the restraint”); see also Robertson v. Sea Pines Real Estate Cos., 679

F.3d 278, 292 (4th Cir. 2012) (on motion to dismiss “we are not in a

position to weigh the alleged anticompetitive risks of the MLS rules

against their procompetitive justifications. This rule of reason inquiry

is best conducted with the benefit of discovery”); Viamedia, Inc. v.

Comcast Corp., 951 F.3d 429, 461 (7th Cir. 2020) (error to consider

defendant’s procompetitive justifications at the pleadings stage). In

contrast, antitrust injury is a gatekeeping doctrine that should be

straightforward to apply on a motion to dismiss based on the

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complaint’s allegations. See 2 P. Areeda & H. Hovenkamp, Antitrust

Law ¶337d (5th ed. 2021) (“the antitrust injury doctrine depends less on

the plaintiff’s proof than on the logic of its complaint and its theory of

injury”).

      C.    A Plaintiff’s Own Anticompetitive Conduct Does Not
            Bar Its Lawsuit Against Another Antitrust Law
            Violator.

      The District Court three times characterized TAN’s “business

model” as “harmful to competition.” Order 14 (1-ER-15); id. at 2, 11 (1-

ER-3, 12). To the extent that the District Court meant to suggest that

TAN lacks antitrust injury because of its own anticompetitive conduct,

that reasoning is erroneous.

      The Supreme Court made clear long ago that the purposes of the

antitrust laws, including promoting competition and deterring

anticompetitive behavior, support private lawsuits against antitrust

violators regardless of whether the plaintiff also acted anticompetitively.

In Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, Inc., 340 U.S. 211

(1951), overruled in irrelevant part, Copperweld Corp. v. Indep. Tube

Corp., 467 U.S. 752 (1984), the Court explained that if plaintiffs were

“guilty of infractions of the antitrust laws, they could be held


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responsible in appropriate proceedings brought against them by the

Government or by injured private persons.” Id. at 214. But “[t]he

alleged illegal conduct of [plaintiff], however, could not legalize the

unlawful combination by [defendants] nor immunize them against

liability to those they injured.” Id.; see also Simpson v. Union Oil Co. of

Cal., 377 U.S. 13, 24 (1964) (plaintiff suffered “actionable wrong or

damage” even though it was party to an unlawful agreement).

     That is the case here: if TAN could be said to have violated the

antitrust laws (which the District Court did not determine), it could be

held responsible in another case. But TAN’s supposed anticompetitive

conduct does not preclude it from challenging NAR’s Policy.

     The Supreme Court elaborated on Kiefer-Stewart and Simpson in

Perma Life Mufflers v. Int’l Parts Corp., 392 U.S. 134 (1968), overruled in

irrelevant part, Copperweld, supra, where the Court generally rejected

the doctrine of in pari delicto—meaning “in equal fault”—as a defense in

antitrust cases. “Both Simpson and Kiefer-Stewart were premised on a

recognition that the purposes of the antitrust laws are best served by

insuring that the private action will be an ever-present threat to deter

anyone contemplating business behavior in violation of the antitrust

laws.” Id. at 139. Even if the plaintiff is a wrongdoer, “the law
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encourages his suit to further the overriding public policy in favor of

competition.” Id.; see also Fashion Originators’ Guild v. FTC, 312 U.S.

457, 468 (1941) (an antitrust defendant cannot raise as a defense that it

engaged in anticompetitive conduct as a response to others’ supposedly

unethical, immoral, or unlawful conduct).

     This Court repeatedly has followed the Perma Life principle that

“a plaintiff’s illegal conduct cannot be raised as a complete bar to his

antitrust action.” First Beverages, Inc. v. Royal Crown Cola Co., 612

F.2d 1164, 1174 (9th Cir. 1980).8 For example, in Calnetics Corp. v.

Volkswagen of America, Inc., 532 F.2d 674, 689 (9th Cir. 1976), this

Court held that a plaintiff would be “entitled to recover damages

actually suffered even though the market position from which Calnetics

was displaced had been attained only through illegal conduct.” See also

Memorex Corp. v. IBM Corp., 555 F.2d 1379, 1381-83 (9th Cir. 1977)

(holding that plaintiff’s alleged theft of defendant’s trade secrets did not


     8
       This Court has held that a plaintiff can be barred from recovery
when an illegal conspiracy “would not have been formed but for the
plaintiff’s participation,” and the jury finds “that the degree of
participation of the plaintiff must be equal to that of any defendant[.]”
Javelin Corp. v. Uniroyal, Inc., 546 F.2d 276, 279 (9th Cir. 1976). TAN
is not alleged to have participated in the agreement challenged here,
however.
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“divest [plaintiff] of an antitrust action” because of the “important

public policy grounds” enunciated in Perma Life).

     Defendants in some of these cases pointed to the plaintiff’s

unlawful conduct to establish an affirmative defense, rather than to

argue against the plaintiff’s antitrust injury. But the public policies

embodied in the antitrust laws are immutable and do not vary with the

form of the defendant’s argument. See Memorex, 555 F.2d at 1382

(although “IBM’s defense is different from either ‘unclean hands’ or in

pari delicto,” the “same considerations which led the Supreme Court to

abolish these traditional equitable defenses are present here”). It

therefore should make no difference whether the plaintiff’s wrongful

conduct is characterized as a defense, a lack of antitrust injury, or

something else. See Calnetics, 532 F.2d at 689 (“Labels . . . are not

controlling, and we find no legitimate reason for distinguishing

defendants’ ‘illegal sales’ argument from the in pari delicto type of

defense struck down in Perma Life.”); Lamp Liquors, Inc. v. Adolph

Coors Co., 563 F.2d 425, 431 (10th Cir. 1977) (the “assertion of illegality

or in pari delicto” is “not properly asserted even under the guise of lack

of standing”).

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                               CONCLUSION

     For the reasons set forth above, this Court should hold that the

District Court erred in its antitrust-injury analysis.




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March 13, 2023

                                           Respectfully submitted.

                                           /s/ Steven J. Mintz

                                           JONATHAN S. KANTER
                                           Assistant Attorney General

                                           DOHA G. MEKKI
                                           Principal Deputy Assistant
                                           Attorney General

                                           MAGGIE GOODLANDER
                                           Deputy Assistant
                                           Attorney General

                                           DAVID B. LAWRENCE
                                           Policy Director

                                           DANIEL E. HAAR
                                           NICKOLAI G. LEVIN
                                           STEVEN J. MINTZ
                                           Attorneys

                                           U.S Department of Justice
                                           Antitrust Division
                                           950 Pennsylvania Ave., NW
                                           Washington, DC 20530-0001
                                           Tel. 202-353-0256
                                           Email: Steven.Mintz@usdoj.gov




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                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

FORM 8. CERTIFICATE OF COMPLIANCE FOR BRIEFS

9th Cir. Case Number(s): 21-16494

I am the attorney or self-represented party.

This brief contains 6,964 words, excluding the items exempted by Fed.
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29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R.
32-4.

[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because
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2(a).
          Signature: s/ Steven J. Mintz            Date: March 13, 2023

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                     CERTIFICATE OF SERVICE

     I hereby certify that on March 13, 2023, I electronically filed the

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                                     Attorney




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